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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                                  ORDER

                          -against-                                        23-CR-236-2 (FB)

Nicholas Ceraolo,
                                    Defendant.
--------------------------------------------------------------X
FREDERIC BLOCK, United States District Judge:
        Whereas a felony plea pursuant to Fed. R. Crim. P. 11 cannot be conducted in court
without seriously jeopardizing the public health and safety, due to the global COVID-19
pandemic, that in-person proceedings appear unlikely to resume until the fall, and that defendant
has requested a plea hearing by video conference, the Court finds that the interests of justice
include consideration of a defendant's decision to plead guilty and that an indefinite delay of the
plea may result in serious harm to the interests of justice. Therefore, with the consent of the
defendant after consultation with counsel, I hereby authorize the assigned magistrate judge to
conduct a plea proceeding by video conference, or by telephone conference if video conferencing
is not reasonably available.


                                                                   SO ORDERED.

                                                                   /s/ Frederic Block
                                                                   U.S.D.J.

Dated: May 14, 2024
       Brooklyn, New York
